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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


                                                        :
BANCO SAN JUAN INTERNACIONAL. INC.,                     :
                                                        :
                      Plaintiff,                        :   C.A. No. 1:22-CV-01315-LPS
                                                        :
       v.                                               :
                                                        :
PETRÓLEOS DE VENEZUELA, S.A.                            :
and PDVSA PETRÓLEO, S.A.,                               :
                                                        :
                      Defendants.                       :



                   DECLARATION OF JULIAN CARDENAS GARCIA

       I, JULIAN CARDENAS GARCIA, declare as follows:

        1.      I am a member of the ad hoc Board of Directors of Petróleos de Venezuela, S.A.

 (the “PDVSA ad hoc Board”).

        2.      I submit this declaration in support of Defendants’ Motion to Dismiss. D.I. 16.

        3.      I have carefully reviewed the assertions made by Plaintiff concerning service of

 process in the above-captioned action and in the prior proceedings before the U.K. courts and

 have conferred with the other members of the PDVSA ad hoc Board about those assertions.

 The PDVSA ad hoc Board never received service of process in the above-captioned

 proceeding. Nor did the PDVSA ad hoc Board ever receive service of process in the prior

 proceedings before the U.K. courts.

        4.      I have reviewed the exhibits attached to the Declaration of M. Imad Khan which

 purport to show that service of process was effected in the above-captioned proceeding. D.I.

 22. None of the individuals that Plaintiff purportedly served are members of, or affiliated in
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 any way with, the PDVSA ad hoc Board. It is our understanding that those persons are

 affiliated with the Maduro regime. Additionally, Plaintiff purported to serve Defendants at an

 address in Caracas, Venezuela. The PDVSA ad hoc Board does not have access to or control

 over those premises. It is our understanding that those premises are occupied by persons

 affiliated with the Maduro regime.

        5.      The PDVSA ad hoc Board never appeared in the prior U.K. proceedings and did

 not retain counsel to represent Defendants in those U.K. proceedings. The PDVSA ad hoc

 Board was unaware of the U.K. proceedings and the underlying Credit Agreements until our

 attorneys alerted us about the existence of the above-captioned action after they discovered this

 action during a routine search of the court’s dockets.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Executed on: March 6, 2023
             Houston, Texas


                                                                     Julian Cardenas Garcia




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